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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    MAGISTRATE NO. 21-MJ-012
                                                 :
           v.                                    :
                                                 :    VIOLATIONS:
 CINDY FITCHETT,                                 :    18 U.S.C. § 1752(a)(1)
 MICHAEL CURZIO,                                 :    (Entering and Remaining in a Restricted
 DOUGLAS SWEET,                                  :    Building)
 TERRY BROWN,                                    :    18 U.S.C. § 1752(a)(2)
 BRADLEY RUKSTALES, and                          :    (Disorderly and Disruptive Conduct in a
 THOMAS GALLAGHER,                               :    Restricted Building)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                          Defendants.            :    (Violent Entry and Disorderly Conduct in
                                                 :    a Capitol Building)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)

                           AMENDED INFORMATION

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, TERRY BROWN, MICHAEL

CURZIO, CINDY FITCHETT, THOMAS GALLAGHER, BRADLEY RUKSTALES, and

DOUGLAS SWEET, knowingly entered and remained in the United States Capitol, a restricted

building, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, TERRY BROWN, MICHAEL

CURZIO, CINDY FITCHETT, THOMAS GALLAGHER, BRADLEY RUKSTALES, and

DOUGLAS SWEET, knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engaged in disorderly and disruptive conduct in, and

within such proximity to, the United States Capitol, a restricted building, when, and so that, such

conduct did in fact impede and disrupt the orderly conduct of Government business and official

functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, TERRY BROWN, MICHAEL

CURZIO, CINDY FITCHETT, THOMAS GALLAGHER, BRADLEY RUKSTALES, and

DOUGLAS SWEET, willfully and knowingly engaged in disorderly and disruptive conduct in

any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of

a session of Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))




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                                      COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, TERRY BROWN, MICHAEL

CURZIO, CINDY FITCHETT, THOMAS GALLAGHER, BRADLEY RUKSTALES, and

DOUGLAS SWEET, willfully and knowingly paraded, demonstrated, and picketed in a Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                  Respectfully submitted,

                                                  MICHAEL R. SHERWIN
                                                  Acting United States Attorney
                                                  New York Bar No. 4444188


                                           By:
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